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 Counsel for The Dugaboy Investment Trust



                        IN THE UNITED STATES BANKRUPTCY COURT

                           FOR THE NORTHERN DISTRICT OF TEXAS

                                           DALLAS DIVISION



 In re                                               §
                                                     §         Case No. 23-31039-mvl7
 HIGHLAND SELECT EQUITY FUND,                        §
 L.P.                                                §         (Chapter 7)
                                                     §
          Debtor.                                    §


                      CREDITOR THE DUGABOY INVESTMENT TRUST’S
                              WITNESS AND EXHIBIT LIST

         Creditor The Dugaboy Investment Trust submits this Witness and Exhibit List for the

hearing on Debtor’s Motion to Transfer/Reassign Case [Dkt. 9] scheduled on Wednesday, July

19, 2023, at 1:30 p.m. (the “Hearing”).


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                                               WITNESSES

           Creditor The Dugaboy Investment Trust (“Dugaboy”) may call the following persons to

testify as witnesses at the Hearing:

           1.     Professor Steve Leben;

           2.     Any witness called by any other party; and

           2.     Rebuttal witnesses as necessary.

           Dugaboy reserves the right to cross-examine any witness called by any other party.

                                                EXHIBITS

    Exhibit1                        Document                              Offered       Objection        Admitted

      25        James Dondero, Highland Capital Management
                Fund Advisors, L.P., NexPoint Advisors, L.P.,
                The Dugaboy Investment Trust, The Get Good
                Trust, and NexPoint Real Estate Partners, LLC,
                f/k/a HCRE Partners, LLC, a Delaware Limited
                Liability Company’s Motion to Recuse Pursuant
                to 28, U.S.C. § 455, Dkt. 2060 in Case No. 19-
                34054-sgj11, dated March 18, 2021 [App. 001 -
                App. 005]
      26        James Dondero, Highland Capital Management
                Fund Advisors, L.P., NexPoint Advisors, L.P.,
                The Dugaboy Investment Trust, Get Good Trust,
                and NexPoint Real Estate Partners, LLC, f/k/a
                HCRE Partners, LLC, a Delaware Limited
                Liability Company’s Amended Motion for Final
                Appealable Order and Supplement to Motion to
                Recuse Pursuant to 28 U.S.C. §455 and Brief in
                Support, Dkt. 3470 in Case No. 19-34054-sgj11,
                dated August 26, 2022 [App. 006 - App. 014]
      27        Amended Renewed Motion to Recuse Pursuant
                to 28 U.S.C. §455, Dkt. 3570 in Case No. 19-
                34054-sgj11, dated October 17, 2022 [App. 015
                - App. 017]
      28        Movants’ Supplemental Memorandum of Law in
                Support of Amended Renewed Motion to Recuse

1
 Dugaboy begins their exhibit numbers with No. 25 to avoid duplicative numbering with Highland Capital
Management, L.P.’s Witness and Exhibit List at Dkt. 30.
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 Exhibit1                           Document                      Offered   Objection   Admitted

              Pursuant to 28 U.S.C. §455, Dkt. 3673 in Case
              No. 19-34054-sgj11, dated March 2, 2023 [App.
              018 - App. 023]
     29       Opinion Letter of Professor Steve Leben dated
              July 6, 2023 [App. 024 - App. 058]
     30       Order Authorizing the Filing of a Lawsuit by
              Dugaboy Investment Trust in New York, Dkt.
              3373 in Case No. 19-34054-sgj11, dated June
              22, 2022 [App. 059 - App. 061]
     31       PACER Docket for Case No. 1:23-cv-01636-
              MKV [App. 062 - App. 066]
     32       Suggestion of Bankruptcy, Dkt. 16 in Case No.
              1:23-cv-01636-MKV, dated June 5, 2023 [App.
              067 - App. 073]
     33       January 9, 2020 Hearing Transcript (excerpted)
              in Case No. 19-34054-sgj11 [App. 074 - App.
              078]
     34       PACER confirmation of Judge assigned to the
              Acis Bankruptcy (Case No. 18-30265-SGJ-11)
              [App. 079 - App. 080]
     35       Bench Ruling and Memorandum of Law in
              Support of: (A) Final Approval of Disclosure
              Statement; and (B) Confirmation of Chapter 11
              Trustee’s Third Amended Joint Plan, Dkt. 827 in
              Case No. 18-30265-SGJ-11, dated January 31,
              2019 [App. 081 - App. 128]
     36       Order Denying Motion to Recuse, Pursuant to
              28 U.S.C. §455, Dkt. 2083 in Case No. 19-
              34054-sgj11, dated March 23, 2021 [App. 129 -
              App. 140]
     37       Order Denying Amended Motion of James
              Dondero, Highland Capital Management Fund
              Advisors, L.P., NexPoint Advisors, L.P., The
              Dugaboy Investment Trust, Get Good Trust, and
              NexPoint Real Estate Partners, LLC, f/k/a HCRE
              Partners, LLC, a Delaware Limited Liability
              Company’s for Final Appealable Order and
              Supplement to Motion to Recuse Pursuant to 28
              U.S.C. §455 and Brief in Support, Dkt. 3479 in


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 Exhibit1                           Document                      Offered   Objection   Admitted

              Case No. 19-34054-sgj11, dated September 1,
              2022 [App. 141 - App. 144]
     38       Movants’ Amended Memorandum of Law in
              Support of Amended Renewed Motion to Recuse
              Pursuant to 28 U.S.C. §455, Dkt. 3571 in Case
              No. 19-34054-sgj11, dated October 17, 2022
              [App. 145 - App. 174]
     39       Memorandum Opinion and Order Denying
              “Amended Renewed Motion to Recuse Pursuant
              to 28 U.S.C. §455,” Dkt. 3676 in Case No. 19-
              34054-sgj11, dated March 6, 2023 [App. 175 -
              App. 211]
     40       Any exhibits designated by any other party
     41       Any exhibits necessary as rebuttal evidence


          Dugaboy reserves the right to amend or supplement this Witness and Exhibit List as

necessary in advance of the Hearing.




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Dated: July 14, 2023.                                  Respectfully submitted,

                                                       /s/ Deborah Deitsch-Perez
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                                                       Michael P. Aigen
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                                                       Counsel for The Dugaboy Investment Trust



                                     CERTIFICATE OF SERVICE

         I certify that on July 14, 2023, a true and correct copy of the foregoing document was

served via the Court’s Electronic Case Filing system to the parties that are registered or otherwise

entitled to receive electronic notices in this proceeding.

                                                     /s/ Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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